28 CFR 36.208 (up toCase
                    date as1:21-cv-12039-IT
                           of 10/05/2022)             Document 46-2 Filed 10/09/22 Page 1 of 1
                                                                                                               28 CFR 36.208
Direct threat.


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Title 28 - Judicial Administration
Chapter I - Department of Justice
Part 36 - Nondiscrimination on the Basis of Disability by Public Accommodations and in
     Commercial Facilities
Subpart B - General Requirements
      Authority: 5 U.S.C. 301; 28 U.S.C. 509, 510; 42 U.S.C. 12186(b), 12205a.
      Source: Order No. 1513-91, 56 FR 35592, July 26, 1991, unless otherwise noted.


§ 36.208 Direct threat.
      (a) This part does not require a public accommodation to permit an individual to participate in or bene6t from
          the goods, services, facilities, privileges, advantages and accommodations of that public accommodation
          when that individual poses a direct threat to the health or safety of others.

      (b) In determining whether an individual poses a direct threat to the health or safety of others, a public
          accommodation must make an individualized assessment, based on reasonable judgment that relies on
          current medical knowledge or on the best available objective evidence, to ascertain: The nature, duration,
          and severity of the risk; the probability that the potential injury will actually occur; and whether reasonable
          modi6cations of policies, practices, or procedures or the provision of auxiliary aids or services will
          mitigate the risk.

[Order No. 1513-91, 56 FR 35592, July 26, 1991, as amended by AG Order No. 3181-2010, 75 FR 56251, Sept. 15, 2010]




28 CFR 36.208(b) (enhanced display)                                                                                  page 1 of 1
